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                                                                  U.S. DISTRICT COURT
                                                                      N.D. OF ALABAMA




                    Exhibit 2
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                       A Fourth Alabama Player Was at
                       a Deadly Shooting, in a Car Hit
                       by Bullets
                       The presence of a fourth Crimson Tide player at the
                       deadly shooting in January has come to light as the team
                       begins its run as the top overall seed in the N.C.A.A. men’s
                       tournament.

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                           A row of Alabama players in practice gear lined up near a sideline shooting 3-pointers as fans
                      watch.
                      Alabama players during a practice session on Wednesday in Birmingham, Ala., ahead
                      of their ﬁrst-round N.C.A.A. tournament game scheduled for Thursday. Alex Slitz/Getty
                      Images



                       By Billy Witz




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                       Write an enhanced byline or dateline...
                       Published March 15, 2023 Updated June 2, 2023




                       BIRMINGHAM, Ala. — A fatal January shooting that involved members of
                       the top-ranked Alabama men’s basketball team, which has loomed over the
                       Crimson Tide as they chase a national championship, could have been even
                       more deadly, as surveillance video showed that two players were in a car
                       struck by bullets in the crossﬁre.

                       The shootout, which sent people nearby scrambling for cover, killed Jamea
                       Harris, 23, who was a passenger in a car. In another car that was struck
                       were Brandon Miller, a star player for the Crimson Tide, and Kai Spears, a
                       freshman walk-on whose presence at the scene had not been previously
                       reported.

                       Including Spears, at least four Alabama players have now been placed at
                       the scene of the shooting that took place in the early morning hours of Jan.
                       15, as bars emptied out along The Strip, a popular gathering spot for
                       students near campus along University Boulevard in Tuscaloosa.

                       Darius Miles, a now-former Alabama basketball player, is in Tuscaloosa
                       County Jail on capital murder charges. He is accused of handing his gun to
                       Michael Davis, a childhood friend, who is also facing capital murder
                       charges and has been accused of ﬁring the bullet that killed Harris. Miles
                       and Davis were indicted by a grand jury last week. A lawyer for Davis said
                       that Davis had been acting in self-defense, while a lawyer for Miles said in
                       a statement that evidence not seen by the grand jury showed that Miles
                       was innocent.




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                            Darius Miles wearing a No. 2 Alabama jersey. shooting a 3-pointer as a crowd of fans watches
                       behind him.
                       Darius Miles during a game in December. A lawyer for Miles said in a statement that
                       evidence not seen by the grand jury showed that Miles, who is facing capital murder
                       charges, is innocent. Brandon Sumrall/Getty Images


                       Jaden Bradley, a freshman guard, was also at the scene. A review of
                       surveillance video showed his car was in a narrow lane that intersects
                       University Boulevard, parked ahead of Miller and Spears. Behind Miller
                       and Spears was a Jeep with Harris in the front passenger seat.

                       The video showed Davis approaching the Jeep from behind, along the
                       driver’s side. Soon, ﬂashes from gunshots could be seen entering and
                       exiting the Jeep. After several shots were exchanged, Davis appeared to
                       have been hit and staggered backward into a telephone pole. He regained
                       his balance and circled in front of Bradley’s car while continuing to ﬁre at
                       the Jeep. Two bullets struck the windshield of Miller’s car. Neither struck
                       Miller or Spears.

                       “I’m sorry, I’m not going to be able to speak about that,” said Spears, a
                       freshman who has not played this season and who is the son of Marshall
                       University’s athletic director, Christian Spears. Kai Spears brieﬂy spoke



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                       Wednesday in the locker room Alabama was using for practice ahead of its
                       ﬁrst-round N.C.A.A. tournament game against Texas A&M-Corpus Christi
                       on Thursday. Miller also declined to comment.

                       In its aftermath, the school has sought to distance itself from the shooting.
                       Miles was dismissed from the team and kicked out of school within hours of
                       his arrest, and the involvement of other players — of which the school was
                       aware — was kept quiet as the Crimson Tide established themselves as the
                       toast of the Southeastern Conference and one of the best teams in the
                       country.

                       On Feb. 21, a police detective testiﬁed at a pretrial hearing about the
                       presence of Miller and Bradley at the scene. He said that Miles had texted
                       Miller, telling him to pick him up and that “I need my joint,” referring to
                       Miles’s gun, which he had left in the back seat of Miller’s car.

                       The detective also made note of an unidentiﬁed passenger in Miller’s car. A
                       person familiar with the case identiﬁed that person as Spears. That person
                       spoke on condition of anonymity to discuss sensitive matters in the case.

                       In a statement following the publication of this story, a spokeswoman for
                       the Alabama athletic department, Jessica L. Paré, said that “based on the
                       information we have, there were no current student-athletes present at the
                       scene other than Brandon Miller and Jaden Bradley.” Paré repeatedly
                       declined to answer questions about the statement. On Thursday, Alabama’s
                       athletic director, Greg Byrne, said in a statement that it was not true that
                       Spears was “present at the time of the incident.”

                       Christian Spears, who did not respond to messages from the Times on
                       Wednesday and Thursday, said in a statement on Marshall’s athletic
                       website on Thursday that he was “disappointed in the irresponsible and
                       demonstrably false reporting by the NY Times.”

                       In the last several weeks, Alabama has been criticized for continuing to
                       play Miller, a decision that               Athletic Director Greg Byrne told ESPN had
                       been made in conjunction with the university’s president, Stuart R. Bell.




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                       Initially, Alabama Coach Nate Oats characterized Miller’s involvement as
                       “wrong spot at the wrong time” before apologizing for that description.

                       Another apology ensued when Miller continued what had been a ritual
                       during introductions at home games: holding his arms out while a
                       teammate patted him down, as if he were being searched for a weapon.


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                              Brandon Miller holding a basketball and looking to shoot during a practice session.
                       Brandon Miller is one of the Crimson Tide’s best players and a top N.B.A. prospect.
                       Kevin C. Cox/Getty Images


                       Miller, a 6-foot-8 forward who will likely be among the top picks in the
                       N.B.A. draft, has become a lightning rod since his presence during the
                       shooting became public. He has played exceedingly well, scoring 41 points
                       — including the winning basket — in an overtime win at South Carolina in
                       his ﬁrst game after the pretrial hearing. And Miller was awarded the SEC
                       tournament’s most outstanding player award after Alabama won the title
                       on Sunday in Nashville, near where he grew up.

                       He has excelled despite being heckled with chants of “lock him up” by
                       South Carolina fans and “Brandon Killer” by Vanderbilt fans during the
                       conference tournament.




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                       Miller arrived at a news conference on Wednesday accompanied by an
                       armed guard.

                       “If you guys saw some of what I’ve seen sent his way, I think you would
                       understand why that’s the case,” said Oats, who indicated that Miller had
                       received anonymous email threats, but declined to elaborate.

                       A pair of Alabama fans showed up to the Southeastern Conference
                       tournament semiﬁnals on Saturday wearing customized T-shirts that
                       turned heads — and a few stomachs.

                       On the back, the shirts read: “Killin' our way through the SEC in ’23.”


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                              A fan wearing a T-shirt, the back of which says “Killinʼ our way through the SEC in ʼ23.”
                       A fan wearing a T-shirt referencing the shooting during the Southeastern Conference
                       tournament. John Amis/Associated Press

                       The T-shirt was deemed in such poor taste that the SEC said that any fans
                       wearing it would be prohibited from entering the arena for Sunday’s
                       championship game. A conference spokesman said afterward that security
                       ofﬁcials had not spotted anyone wearing the T-shirts.




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                       “It’s meant to make you think,” said the man, who identiﬁed himself as
                       Jimmy Johnson, from Mobile, Ala., as he stood in the concourse just after
                       halftime on Saturday. The man, whose real name is Jason O’Rear, hung up
                       without answering questions on Wednesday when he was contacted by the
                       Times.

                       Last week he called the shooting a tragedy but said that Oats and Miller
                       were being unfairly attacked, using an expletive. “The media is going to
                       cancel Miller,” he said. “Now, I don’t condone anything about what
                       happened, but I know where the media is going to come crashing down and
                       try to ruin a guy’s career. I know where the clicks are.”

                       He was asked if he would feel differently if his daughter had been killed.

                       “I don’t know,” he said.

                       In Tuscaloosa, most of the bars along The Strip have been closed this week
                       and the campus is all but vacant as most students have left town for spring
                       break. Few who remain seem willing to discuss the shooting or the
                       university’s response to it.

                       “Jamea Harris should be living her life and raising her son,” said Walt
                       Maddox, the mayor of Tuscaloosa. “Her murder, as with every senseless act
                       of violence, weighs on all of us. Our words are inadequate to provide
                       comfort to her family; however, our actions matter to ensure justice.”

                       But in a surveillance video, when Davis hobbles toward a parking lot —
                       after ﬁring at least eight bullets and taking one in the shoulder — Bradley,
                       the freshman from Rochester, N.Y., peels out and turns onto University
                       Avenue.

                       As Miller follows after them, the Jeep, with the mortally wounded Harris,
                       sideswipes Miller and Spears, one bullet-riddled car screaming past
                       another in a tragedy that could have been even worse.


                        Susan C. Beachy contributed research.




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